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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


CARTER W. PAGE,

                   Plaintiff,

         v.                                             No. 1:20-cv-03460

JAMES COMEY, ANDREW                               Honorable Dabney L. Friedrich
MCCABE, KEVIN CLINESMITH,
PETER STRZOK, LISA PAGE, JOE                         Oral Argument Requested
PIENTKA III, STEPHEN SOMMA,
BRIAN J. AUTEN, DEPARTMENT
OF JUSTICE, FEDERAL BUREAU
OF INVESTIGATION, UNITED
STATES OF AMERICA, JOHN DOES
1-10, JANE DOES 1-10,

                   Defendants.



      DEFENDANT JAMES B. COMEY’S REPLY IN SUPPORT OF HIS
    MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

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       Defendant James B. Comey submits this reply in support of his Motion to Dismiss Plaintiff

Carter Page’s Second Amended Complaint (the “SAC”).

                                       INTRODUCTION

       Page’s Opposition is long on prose but short on substance. It fails to save his untimely and

deficient claims, which should be dismissed. For the sake of judicial economy, Comey joins the

Reply Briefs of Individual Defendants Kevin Clinesmith, Stephen Somma, Peter Strzok, Andrew

McCabe, Lisa Page, Brian Auten, and Joseph Pientka (the “Co-Defendants”), and incorporates

herein by reference all arguments set forth in those replies that apply equally to Comey.

Specifically, Comey joins in the following of the Co-Defendants’ arguments, which similarly

apply to him: (1) Page’s claims are barred by the applicable statutes of limitations; (2) Page’s

attempt to recast his FISA claims under an aiding and abetting theory is not permitted by the

statute, and even if plausibly alleged, Comey is entitled to FISA’s statutory defense; (3) Likewise,

Page’s Bivens claim should not be permitted in this new context where special factors counsel

against such an extension, and in any event is inadequately pleaded; and (4) had Page adequately

pleaded his FISA and Bivens claims, Comey is entitled to qualified immunity.

                                          ARGUMENT

I.     All of Page’s Claims Against Comey Are Untimely

       Page’s Opposition fails to save his untimely FISA and Bivens claims. He argues that the

SAC does not conclusively establish that his claims are untimely. Dkt. 98 at 64-67. Taking the

allegations of the SAC at face value, however, this argument fails. A claim must be dismissed

“when it appears from the face of the complaint that the relevant statute of limitations bars the

action.” Doe v. U.S. Dep’t of Just., 753 F.2d 1092, 1115 (D.C. Cir. 1985); see also Sykes v. U.S.

Att’y for D.C., 770 F. Supp. 2d 152, 154 (D.D.C. 2011), aff’d, 2011 WL 5515568 (D.C. Cir. Nov

10, 2011) (“An affirmative defense that claims are barred by the statute of limitations may be
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asserted in a Rule 12(b)(6) motion ‘when the facts that give rise to the defense are clear from the

face of the complaint.’”). The facts as alleged by Page in the SAC establish conclusively that

Page’s claims against Comey are barred by the applicable statutes of limitation.

       Page’s Opposition contends that his FISA and Bivens claims did not begin to accrue until

he “discover[ed], or by reasonable diligence could have discovered, the basis of the lawsuit.” Dkt.

98 at 66 (quoting Smith v. Nixon, 606 F.2d 1183, 1190 (D.C. Cir. 1979)). He further alleges that

the basis of the lawsuit is that the FISA warrants “were obtained without probable cause by the

inclusion of numerous, material misrepresentations and omissions . . . .” Dkt. 98 at 66. As fully

explained in Co-Defendant Clinesmith’s Reply and incorporated here, the law does not require a

plaintiff know all of the facts underlying their claim for it to accrue. Dkt. 101 at 3-4 (citing Sprint

Commc’ns Co., L.P. v. F.C.C., 76 F.3d 1221, 1228 (D.C. Cir. 1996) (“Accrual does not wait until

the injured party has access to or constructive knowledge of all the facts required to support its

claim.”) (emphasis added)). Instead, under the discovery rule, an aggrieved party need only learn

or be able to learn of the alleged injury to toll the statute of limitations. See Rotella v. Wood, 528

U.S. 549, 555 (2000) (explaining that under the discovery accrual rule, the clock begins to run

with the “discovery of the injury, not discovery of the other elements of a claim”); Hardin v.

Jackson, 625 F.3d 739, 744 (D.C. Cir. 2010) (finding that plaintiffs were aware of their injury

when they learned of the injury and not after a university published a study establishing it). This

is also true even when there is a pattern of conduct by defendants, Rotella, 528 U.S. at 556, or

when discovery of the pattern of activity would require “considerable enquiry and investigation,”

id. Under this standard, Page’s claims are untimely because the FBI’s investigation of him was

publicly disclosed at least three years before Page brought his claims before this Court. Indeed,

Page alleges not just an injury from supposed mis-statements in the FISA applications, but an



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alleged injury arising from the very fact that he was the subject of electronic surveillance, and the

public disclosure of that fact. See, e.g., SAC ¶ 260.

       Page concedes that his claims in this case are akin to the Wiretap claims in Smith v. Nixon.

Dkt. 98 at 65-66, where the alleged injury arose from public disclosure that the plaintiff had been

the subject of electronic surveillance. Even under the standard articulated in that case, a Wiretap

claim accrues when the existence of the wiretap “be[comes] public knowledge.” Dkt. 98 at 66

(quoting Smith v. Nixon, 606 F.2d 1183, 1191 (D.C. Cir. 1979)); see also Berman v. Cook, 293 F.

Supp. 3d 48, 56 (D.D.C. 2018) (plaintiff’s claim accrued when he learned of the offending search);

Edokobi v. U.S. Gen. Servs. Admin., 2018 WL 4639102, at *4 (D. Md. Sept. 27, 2018) (finding

that a cause of action based on an unlawful search “accrue[s] when [the plaintiff] receive[s] notice

of the search”), aff’d, 796 F. App’x 813 (4th Cir. 2020); Roark v. United States, 2013 WL 1071778,

at *3 (D. Or. Mar. 12, 2013) (“[A] Bivens claim arising out of a search accrues on the date of the

search.”). There, the Smiths were subjects of a wiretap from June 4, 1969 to August 31, 1969.

Smith v. Nixon, 606 F.2d 1183, 1186 (D.C. Cir. 1979). However, applying a “due diligence”

standard, the court found that the Smiths could not have discovered the fact that they were

surveilled until the fact of the wiretap became public in 1973. Id. at 1190-91. Here, the fact of

Page’s surveillance undisputedly became public at the latest on April 11, 2017, when the

Washington Post article revealed that he was being surveilled pursuant to FISA warrants. See

SAC ¶ 221. Even if this Court determines that Page’s claims accrued on this date, his complaint

was not brought within the applicable statute of limitations period.

       Page’s argument that he was foreclosed from learning of the basis of his FISA and Bivens

claims by the inherent secrecy of the FISA warrant process until the December 2019 release of the

Horowitz Report fares no better in light of the substantial press reporting regarding the FBI’s



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investigation of Page. Dkt. 98 at 66. Indeed, Page tacitly admits that he knew as early as

September 23, 2016, when Yahoo! News published an article detailing the investigation, that the

FBI was surveilling him. SAC ¶ 76. Moreover, Page specifically pleads that on September 25,

2016, he sent Comey a letter denying the allegations giving rise to the investigation as a result of

the Yahoo! article.1 SAC ¶¶ 15, 81, 146. Page also admits that he was aware of at least the first

two FISA warrants by April 11, 2017, when the Washington Post “broke the story about the FISA

Warrants targeting Dr. Page, including that a FISA warrant had been issued in 2016 and had been

renewed at least once.” SAC ¶ 221. This article also confirmed that Page believed the warrants

lacked probable cause. Dkt. 87-1 at 35 (citing April 11, 2017 WaPo Article) (Page stated that the

Washington Post’s reporting “confirm[ed] all of [his] suspicions about unjustified, politically

motivated government surveillance.”). Thus, the SAC makes clear that Page was fully aware—

years before the release of the Horowitz Report—that: (1) he was the subject of an FBI

investigation, SAC ¶ 76 (September 23, 2016 Yahoo! News Article), 81 (Page’s Letter to Comey);

(2) he believed the surveillance was improper, SAC ¶ 221 (April 11, 2017 WaPo Article); and (3)

he believed the FISA warrants lacked probable cause.

       Despite Page’s clear knowledge of the investigation and the FISA warrants, he argues that

he could not have brought suit until he was aware of the fact that the warrants were purportedly

obtained “without probable cause by inclusion of numerous, material misrepresentations and

omissions . . . .” Dkt. 98 at 66. But for a claim to accrue, courts do not require detailed information

about how the information was acquired; instead, the accrual triggers when a complainant learns

they are being surveilled. Sparshott, v. Feld Ent., Inc., 311 F.3d 425, 429 (D.C. Cir. 2002) (finding



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  This fact also confirms that Page was well aware of Comey’s involvement in the investigation
at this time.

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that wiretap claim accrued when plaintiff received “warnings with considerable objectivit[y]”).

See also Hill v. Dep’t of Def., 981 F. Supp. 2d 1, 7–8 (D.D.C. 2013) (finding that a claim under

the Privacy Act begins to accrue when “plaintiff has received adequate notice that an agency or its

employees are engaged in practices inconsistent with the agency’s obligations” regardless of

whether the plaintiff “know[s] the exact details of the violative practices or be aware of exact

documents improperly maintained or disclosed”). Critically, Page’s own admissions show that

he believed the FISA warrants were obtained without probable cause years before the release of

the Horowitz Report. For example, just two weeks after the 2017 Washington Post article, on

April 27, 2017, when asked during a CNN interview how a judge could have found probable cause

to surveil him, Page stated that “there is no probable cause and there could be no probable cause

based on anything I’ve ever done in Russia.” Dkt. 88-10 at 9.

       Here, just as in Smith v. Nixon, the public disclosure of the FBI’s investigation of Page on

April 11, 2017 triggered the statutes of limitation for Page’s FISA and Bivens claims. 606 F.2d at

1191 (finding that the Smiths could not have reasonably learned of the wiretap until “it became

public knowledge”). Thus, Page’s claims against Comey are untimely and must be dismissed.

II.    Page’s FISA Claims Against Comey Are Inadequately Pleaded And Must Be
       Dismissed

       A.      FISA Civil Claims Do Not Extend To Aiding And Abetting

       In an attempt to save his FISA claims, Page argues that Congress somehow intended for

defendants to be held liable under a civil aiding and abetting theory implied in section 1810.2 Dkt.

98 at 16. But that is not the law. “[W]hen Congress enacts a statute providing for private civil

liability ‘there is no general presumption that the plaintiff may also sue aiders and abettors.’” Cent.


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 In his Opposition, Page claims that the Defendants “wholly ignore” this argument. Dkt. 98 at
16. However, Comey explicitly refuted this argument in his Motion to Dismiss. Dkt. 87 at 22.

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Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164, 182 (1994); see also

Owens v. BNP Paribas, S.A., 897 F.3d 266, 278 (D.C. Cir. 2018) (same). Rather, a defendant may

not be held liable under an aiding and abetting theory “unless Congress speaks to it explicitly.”

Owens, 897 F.3d at 277, 279 (“[W]hen Congress is silent as to aiding and abetting liability, it has

unambiguously foreclosed that theory of recovery.”). Similar to the Stored Communications Act

and other comparable statutes, FISA’s civil liability provision makes no explicit reference to aiding

and abetting liability. See Broidy Cap. Mgmt. LLC v Muzin, 2020 WL 1536350, at *11 (D.D.C.

Mar. 31, 2020) (Friedrich, J.) (Stored Communications Act), aff’d, 12 F.4th 789 (D.C. Cir. 2021);

Kirch v. Embarq Management Co., 702 F.3d 1245, 1246-47 (10th Cir. 2012) (Wiretap Act).

Page’s footnote argument that the “sweeping language” of § 1810, which provides a cause of action

against “any person” who violates § 1809, somehow provides for aiding and abetting civil liability

is simply not an “explicit” directive from Congress. Owens, 897 F.3d at 277. Moreover, this

Circuit has held that burying an argument in a conclusory footnote is insufficient to properly raise

it. See United States v. Philip Morris USA, Inc., 396 F.3d 1190, 1195 (D.C. Cir. 2005) (finding

with respect to defendant’s footnote argument that a “litigant does not properly raise an issue by

addressing it in a cursory fashion, with only bare-bones arguments”) (internal quotations and

citations omitted).

       That Congress did not intend to create a theory of aiding and abetting civil liability is

punctuated by Congress’ clear inclusion of aiding and abetting liability in other portions of FISA.

See Romag Fasteners, Inc v. Fossil, Inc., 140 S. Ct. 1492, 1493, 1495 (2020) (finding that the

absence of a mens rea standard is “all the more telling” where other portions of the statute speak

“expressly about mental states”); Owens v. BNP Paribas S.A., 235 F. Supp. 3d 85, 93 (D.D.C.

2017) (explaining that it is “doubt[ful] that Congress, having included in the ATA several express



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provisions with respect to aiding and abetting in connection with the criminal provisions, can have

intended § 2333 to authorize civil liability for aiding and abetting through its silence”). FISA’s

definition of an “[a]gent of a foreign power” includes an individual who “knowingly aids or abets

any person” or “knowingly conspires with any person.” 50 U.S.C. § 1801(b)(1)(E). Yet, FISA’s

civil liability provisions are silent on aiding and abetting liability. As explained by this Court,

there can be “no general presumption that the plaintiff may also sue aiders and abettors,” “because

Congress knows how to provide private plaintiffs with an action for secondary liability when it

sees fit.” Broidy Cap. Mgmt. LLC, 2020 WL 1536350, at *11 (quoting Cent. Bank of Denver, N.A.

v. First Interstate Bank, N.A., 511 U.S. 164, 182 (1994)).

        In support of his position, Page cites a single line from the 35-page 1978 FISA legislative

history. Dkt. 98 at 16 (citing to H.R. Rep. No. 95-1720, at 34 (1978) (“The conferees agree that

the civil liability of intelligence agents under this act should coincide with the criminal liability.”)).

But this is not a clear directive from Congress, and Page tellingly does not and cannot cite a single

case in which a defendant was held liable under a civil aiding and abetting theory in the more than

40 years since Congress enacted FISA. Likewise, the U.S. Court of Appeals for the D.C. Circuit

has held that legislative history “may not be used [to] show an ‘intent’ at variance with the meaning

of the text.” Owens, 897 F.3d at 279 (quoting In re Sinclair, 870 F.2d 1340, 1344 (7th Cir. 1989)).

The plain language of FISA establishes that “an aggrieved person” must demonstrate two

prohibited activities: (1) that the defendant in question intentionally engaged in unlawful electronic

surveillance; and (2) that defendant intentionally “disclose[d] or use[d]” the information obtained

through such surveillance. 50 U.S.C. § 1809(a)(1)-(2); Dkt. 78-1 at 21. The language of the statute

is unambiguous and leaves no room for secondary liability. And where a statute is not ambiguous,

legislative history is not “necessary or helpful.” Owens, 897 F.3d at 279. Further, as fully



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explained in Co-Defendant Clinesmith’s Reply and incorporated here, FISA’s legislative history

actually counsels against permitting aiding and abetting civil liability. Dkt. 101 at 13-18. Thus,

Page’s attempt to read into the statute an intent to create civil aiding and abetting liability under

section 1810 fails.

       Even if successful, Page fails to adequately allege that Comey is liable under an aiding and

abetting theory which requires “(1) specific intent to facilitate the commission of a crime by

another; (2) guilty knowledge; (3) that someone else was committing a crime; and (4) assisting or

participating in the crime.” United States v. Gaviria, 116 F.3d 1498, 1535 (D.C. Cir. 1997).

Nowhere in the Second Amended Complaint does Page allege that Comey acted with specific

intent to assist any of the other defendants to commit a crime. In fact, Page does not even allege

that Comey was aware that any other defendant specifically intended to commit a crime. Thus,

Comey cannot be held liable under Page’s theory of liability.

       B.      Page Fails To State A FISA Claim Against Comey

       Page’s allegations that Comey “personally . . . engaged in violations of FISA, and thereby

harmed Dr. Page,” Dkt. 98 at 19, are similarly insufficient. Page alleges that Comey personally

engaged in FISA violations by (1) “‘green light[ing]’” the FISA warrant applications despite being

briefed of a DOJ attorney’s concerns, Dkt. 98 at 20-21; (2) signing the certification of the first

FISA warrant “despite knowing that relevant, material information that bore on the question of

probable cause was intentionally omitted from the warrant application,” Dkt. 98 at 21; (3)

remaining “deeply involved” in the Crossfire Hurricane operation by receiving updates on the

investigation every two to four weeks, Dkt. 98 at 21; and (4) signing the second and third FISA

warrant certifications “despite the total lack of any such information resulting from the surveillance

and despite multiple indications throughout his regular briefings that the ‘investigation’ was solely



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an exercise in political maneuvering,” Dkt. 98 at 22-23. Critically, Page does not allege Comey

was involved with the fourth FISA warrant at all. As a result, that claim should be dismissed.

         Nonetheless, even accepting Page’s allegations as true, Page fails to sufficiently allege a

FISA claim against Comey.

                1.      Comey Did Not Engage in Electronic Surveillance

         Page argues that the Individual Defendants “seek to limit the evaluation of the sufficiency

of the SAC’s allegations against them by focusing on their own actions.” Dkt. 98 at 50. Yet this

is exactly what is required for a valid claim under section 1810. See Fazaga v. Federal Bureau of

Investigation, 965 F.3d 1015, 1039 (9th Cir. 2020) (“[A] plaintiff must plead that each

Government-official defendant, through the official’s own individual actions, has violated the

Constitution.”) (emphasis added) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)). See also

Wikimedia Found. v. Nat’l Sec. Agency/Cent. Sec. Serv., 335 F. Supp. 3d 772, 784 (D. Md. 2018)

(“[T]he civil cause of action in § 1810 is premised upon the individual agent’s violation of section

1809.”) (internal quotation and citation omitted); Attkisson v. Holder, 2017 WL 5013230, at *12

(E.D. Va. Nov. 1, 2017) (“Any ‘aggrieved person’ has a ‘cause of action against any person who

committed’ a ‘violation’ of § 1809.”) (quoting 50 U.S.C. § 1810), aff’d, 925 F.3d 606 (4th Cir.

2019).

         When reviewing Page’s allegations against Comey individually, he does not adequately

allege that Comey personally engaged in surveillance of Page. Indeed, Page’s Opposition—just

as the SAC—includes nothing more than generalized allegations that Comey personally engaged

in violations of FISA.     See, e.g., Dkt. 98 at 19 (“He is being sued because he personally . . .

engaged in violations of FISA, and thereby harmed Dr. Page.”). Page’s substantive arguments are

essentially that Comey’s certifications were “critical to the approval of any warrant application

made to the FISC,” Dkt. 98 at 19, and that Comey signed the FISA warrant certifications “despite
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knowing that relevant, material information that bore on the question of probable cause was

intentionally omitted from the warrant application,” Dkt. 98 at 21. Page mistakenly appears to

argue that Comey’s certification of the FISA warrant applications constituted a verification of the

information contained therein. See e.g., Dkt. 98 at 21. Yet Page offers no response to the pertinent

portion of FISA (other than citing it), which explains that the purpose of the FISA certification is

to certify that the FISA warrants has a significant foreign intelligence purpose and logistical need.

Dkt. 98 at 19 (citing 50 U.S.C. § 1804(a)).

       While Page alleges that Comey’s “role in, and responsibility for, the issuance of the

warrants [ ] resulted in the unlawful surveillance of Dr. Page,” Dkt. 98 at 19, courts require

personal engagement in the alleged surveillance and not just search warrant “sign-off.” See

Attkisson, 2017 WL 5013230, at *4, 12* (finding that complaint failed to “plausibly allege that

[the former Attorney General] actually engaged in the alleged unauthorized surveillance” because

it did not allege that he “personally engaged in the alleged surveillance,” even though the complaint

included allegations of his personal involvement through inter alia, “signing-off” on search

warrants); cf. Broidy Cap. Mgmt. LLC, 2020 WL 1536350, at *11 (similar language in Stored

Communications Act applied only to defendants who “themselves accessed [complainant’s]

computer systems”). Simply put, Page’s allegations that Comey’s certifications amounted to

personal involvement in the alleged surveillance fail as a matter of law.

       Page also argues that Comey remained “deeply involved” in the Operation Hurricane

investigation because he received status updates every two to four weeks. Dkt. 98 at 21. But such

periodic status updates similarly do not amount to personal engagement in the electronic

surveillance. See Attkisson, 2017 WL 5013230, at *4, 12 (finding that plaintiff failed to allege that

the former Attorney General engaged in the alleged unauthorized surveillance despite having



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“knowledge of [the] illegal surveillance” and being “involved in discussions” regarding the target

of the surveillance). Similarly, to the extent Page argues Comey is liable under a supervisory

liability theory, that theory already has been rejected in the FISA context. See Fazaga, 965 F.3d

at 1039 (citing Iqbal, 556 U.S. 662, 676 (2009)) (finding that supervisors could not be held liable

for their subordinates’ alleged FISA violations).

       Moreover, even if this Court agreed with Page’s conclusory allegations that Comey

“engaged in” unlawful electronic surveillance, Comey is entitled to protection under FISA’s safe

harbor provision. 50 U.S.C. § 1809(b). Page does not and cannot allege that Comey is not a “law

enforcement officer” for purposes of the statute. See Dkt. 87-1 at 26. Instead, Page argues that

the Individual Defendants are not entitled to protection under the safe harbor provisions because

they did not act in good faith. As explained in Co-Defendant McCabe’s Reply and incorporated

here, there is no “good faith exception” to FISA’s safe harbor provision. Dkt. 106 at 15-16. Thus,

Page fails to overcome this critical hurdle to save his FISA claims against Comey.

               2.     Comey Did Note Use or Disclose Information Obtained from the
                      Surveillance of Page

       Page’s only argument that Comey “used or disclosed” information obtained from the

surveillance appears in a single footnote. Dkt. 98 at 31, n.4. He states that “the SAC expressly

asserts that the Defendants did unlawfully use FISA obtained information in ways both known and

unknown to Dr. Page, including by leaking to the media, and for use in obtaining the warrant

renewals, and for other purposes as already admitted by the FBI in filings to the FISC.” Id.; see

also SAC ¶ 142. Page further argues that “the facts further establishing unlawful use of the FISA

obtained information are exclusively in the possession of the Defendants in this case because they

are protected from the view of the public, including Dr. Page, as ‘law enforcement’ and classified

information.” Dkt. 98 at 31, n.4. These arguments are insufficient to save Page’s claims.


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       As a threshold matter, Page’s arguments that Defendants “used and disclosed” FISA

obtained information violates the prohibition against “lumping all the defendants together” without

a “factual basis to distinguish their conduct.” Toumazou v. Turkish Republic of N. Cyprus, 71 F.

Supp. 3d 7, 21 (D.D.C. 2014) (discussing minimum pleading requirements under Federal Rule of

Civil Procedure 8). This is because doing so deprives defendants of “fair notice of the claims

against them and the grounds for relief.” Id. Page’s Opposition fails to meaningfully address the

fatal flaws of the SAC with respect to Comey’s use or disclosure of information obtained through

the FISA warrants. Instead, Page argues it is inappropriate for the Defendants to make these

arguments because Defendants are “exclusively in possession” of the facts establishing the

unlawful use. Dkt. 98 at 27, n.3. But this argument does not save Page’s claims. See Martin v.

Malhoyt, 830 F.2d 237, 257 (D.C. Cir. 1987) (finding that “conclusory allegations of

unconstitutional or otherwise illegal conduct will not withstand a public official’s dispositive pre-

trial motion” and that “plaintiffs cannot expect the court's assistance in obtaining the necessary

factual support”). Thus, Page’s FISA claims against Comey must be dismissed.

III.   Page’s Bivens Claim Against Comey Must Be Dismissed

       In an attempt to save his Bivens claim, Page argues that (1) he properly pleaded his Bivens

claim against the Individual Defendants; (2) his Bivens claim does not involve a new context; and

(3) the overlap of his Bivens and FISA claims is not a basis for dismissing either claim. Each of

these arguments fail to save his Bivens claim against Comey.

       A.      Page Fails To State A Bivens Claim Against Comey

       Page seemingly admits that he has not pleaded an adequate Bivens claim against Comey

personally and instead argues that Comey is liable under a supervisory theory of liability for

actions Comey allegedly helped orchestrate. Dkt. 98 at 55. While Page correctly cites Iqbal for

the proposition that a Bivens claim requires a plaintiff to plead that “each Government-official

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defendant, through the official’s own individual actions, has violated the Constitution,” Dkt. 98 at

55 (citing Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)), he somewhat inexplicably cites a D.C.

District Court case predating Iqbal for the proposition that “supervisory liability exists under

Bivens.” Id. at 55-56 (citing to Fletcher v. U.S. Parole Com’n, 550 F. Supp. 2d 30, 39 (D.D.C.

2008)). The Supreme Court in Iqbal explicitly faulted the Respondent for the very same argument:

       Respondent's conception of “supervisory liability” is inconsistent with his accurate
       stipulation that petitioners may not be held accountable for the misdeeds of their
       agents. In a § 1983 suit or a Bivens action—where masters do not answer for the
       torts of their servants—the term “supervisory liability” is a misnomer.

Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009). As the Supreme Court in Ziglar v. Abbasi recognized,

a Bivens action is “not designed to hold officers responsible for [the] acts of their subordinates.”

137 S. Ct. 1843, 1849 (2017).

       And even the one post-Iqbal case Page cites was reversed and does not involve a Bivens

action or FISA surveillance. Dkt. 98 at 57 (citing Wesby v. District of Columbia, 765 F.3d 13, 29

(D.C. Cir. 2014), rev’d, 138 S. Ct. 577 (2018) (involving alleged civil rights violation for false

arrest)). Instead, Wesby involved two police officers who did not personally arrest each of the

plaintiffs, but who became “the hub of [the] investigation” when they “gathered evidence,

including photographs of the people in the house, and actively participated in questioning the

Plaintiffs and other key witnesses.” Wesby v. District of Columbia, 765 F.3d 13, 29 (D.C. Cir.

2014), rev’d, 138 S. Ct. 577 (2018). Unlike the Plaintiffs in Wesby, Page does not and cannot

allege that Comey actively participated in the gathering of any evidence against Page or in the

actual surveillance of Page. Id. at 29-30. Likewise, Page does not even attempt to argue that the

individual allegations against Comey are sufficient to state an individual Bivens claim against

Comey. For these reasons, Page’s Bivens claim against Comey must be dismissed.




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       B.      Page’s Bivens Claim Should Not Be Extended To A New Context

       Page argues that his Bivens claim does not involve a new context because, at base, this case

involves “a federal agent who commits an unconstitutional search and seizure.” Dkt. 98 at 58.

While Courts have upheld Bivens claims in the search and seizure context, “expanding the Bivens

remedy [to a new context] is now a ‘disfavored’ judicial activity.” Ziglar, 137 S. Ct. at 1857. The

test for determining whether a claim arises in a new context is whether the case “is different in a

meaningful way from previous Bivens cases.” Id. at 1859. That is the case here. Page cannot

credibly argue that his claims do not meaningfully differ from the search and seizure context in

Bivens, in which officers searched an individual’s home without a search warrant. Bivens v. Six

Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388, 389 (1971).

       Page argues that because Courts have “recognized the validity of Bivens claims based on

an allegation that defendants falsely obtained a warrant without probable cause,” his Bivens claim

does not involve a new context. Dkt. 98 at 58-59. But Page ignores that “a claim based on unlawful

electronic surveillance presents wildly different facts and a vastly different statutory framework

from a warrantless search and arrest.” Attkisson v. Holder, 925 F.3d 606, 621 (4th Cir. 2019).

Similar to the Bivens claim rejected in Attkisson, Page asserts his claims here against high-level

officials. Id. (“[T]he plaintiffs’ claim against Holder [Former United States Attorney General] and

Donahoe [United States Army Major General] assuredly presents a ‘new Bivens context.’”). This

is because “high [ranking] officials who face personal liability for damages might refrain from

taking urgent and lawful action in a time of crisis.” Ziglar, 137 S.Ct. at 1863. As the court did in

Attkisson, this Court should reject Page’s attempt to expand Bivens to this new context.




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          Page also argues that Comey uses the threat of national security as “a talisman [] to ward

off inconvenient claims . . . .” Dkt. 98 at 59 (citing Mitchell v. Forsyth, 472 U.S. 511, 523 (1985)).3

However, the law is clear that national security is often a special factor counseling hesitation

against expanding Bivens liability. For example, the Supreme Court explained that “Judicial

inquiry into the national-security realm raises ‘concerns for the separation of powers in trenching

on matters committed to the other branches.’” Ziglar, 137 S.Ct. at 1861. The Court in Ziglar

further explained that these concerns are heightened where, as here, the plaintiff seeks money

damages because the risk of personal liability may “cause an official to second-guess difficult but

necessary decisions concerning national-security policy.” Id. Thus, rather than imposing Bivens

liability, courts defer to “what the Executive Branch ‘has determined . . . is ‘essential to national

security.’” Id. And, as fully explained below, Congress explicitly enacted legislation providing

the necessary framework for when a public official may be held personally liable for a FISA

violation.

          C.     FISA’s Existing Statutory Framework Precludes Page From Recovering
                 Damages Under Bivens

          Page mistakenly interprets Comey’s arguments that FISA’s existing statutory framework

excludes Page from recovering damages under his Bivens claim as an argument invoking the

doctrine of election of remedies. Dkt. 98 at 60. Instead, Comey argues that FISA’s existing

statutory framework is a special factor counselling hesitation. Dkt. 87-1 at 37. Once a court

determines that a claim arises in a new context, the court must then “ask whether there are any

special factors that counsel hesitation about granting the extension.” Hernandez v. Mesa, 140 S.

Ct. 735, 743 (2020) (quotations and alterations omitted). One such special factor “that precludes



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    Curiously, the language quoted by Page does not appear in the text of Mitchell v. Forsth.

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creation of a Bivens remedy is the existence of a comprehensive remedial scheme.” Wilson v.

Libby, 535 F.3d 697, 705 (D.C. Cir. 2008). This doctrine stems from the question of “who should

decide whether such a remedy should be provided.” Id. (citing Bush v. Lucas, 462 U.S. 367, 380

(1983)). The U.S. Court of Appeals for the D.C. Circuit has held that “courts must withhold their

power to fashion damages remedies when Congress has put in place a comprehensive system to

administer public rights, has ‘not inadvertently’ omitted damages remedies for certain claimants,

and has not plainly expressed an intention that the courts preserve Bivens remedies.” Wilson, 535

F.3d at 706 (quoting Spagnola v. Mathis, 859 F.2d 223 (D.C. Cir. 1988)). As explained in Co-

Defendant Clinesmith’s Motion to Dismiss and incorporated in Comey’s Motion, FISA, along

with other statutes, qualifies as a comprehensive statutory scheme that counsels hesitation, and

Page’s claims fit squarely within that scheme. Dkt. 81-1 at 33-36 (explaining that Congress

provided for civil and criminal liability for FISA violations in 50 U.S.C. §§ 1809, 1810); Dkt. 87-

1 at 37 (same). Page does not challenge this critical argument, and consequently must concede it.

Rosenblatt v. Fenty, 734 F. Supp. 2d 21, 22 (D.D.C. 2010) (“[A]n argument in a dispositive motion

that the opponent fails to address in an opposition may be deemed conceded.”).

IV.    Comey Is Entitled To Qualified Immunity

       Page argues that Comey is not entitled to qualified immunity on the Bivens claim because

“the Constitution [does] not permit a police officer deliberately, or with reckless disregard for the

truth, to make material misrepresentations or omissions to seek a warrant that would otherwise be

without probable cause.” Dkt. 98 at 61 (quoting Miller v. Prince George’s County, MD, 475 F.3d

621, 632 (4th Cir. 2007). Page does not allege nor can he allege that Comey deliberately, or with

reckless disregard for the truth, made any material misrepresentations or omissions in the warrant

applications. In fact, the OIG Report not only concluded that Comey was not involved in the

compilation of any evidence used to support the probable cause determination in the application,
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but the Inspector General also found no evidence that Comey actually knew, at the time of his

certifications, that the factual information submitted in support of the applications was false or

misleading. OIG Report at 156-57. Instead, Page merely alleges that Comey verified three of the

FISA warrant applications. SAC ¶ 150. As explained above and in Comey’s Motion to Dismiss,

it appears that Page fails to appreciate that Comey’s certification (not verification) of the first three

FISA warrant applications was not a verification of the information contained in the warrant

applications, despite Comey’s clear recitation of the role of his certifications. See Dkt. 87-1 at 28-

32 (citing 50 U.S.C § 1804 and explaining that the purpose of a FISA certification is to certify that

the purpose of the surveillance is to obtain foreign intelligence information and that the

information cannot reasonably be obtained by normal investigative techniques).                 Comey’s

certifications did not and were not intended or required to verify the information contained in the

FISA warrant applications. And, existing precedent does not clearly establish that Comey’s

certification of the FISA warrant applications as part of that process could have conceivably

violated Page’s Fourth Amendment rights. See Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011)

(finding that a “clearly established” right exists where “existing precedent must have placed the

statutory or constitutional question beyond debate”).

        Page further argues that Comey is not entitled to qualified immunity on the FISA claims

because “FISA itself contains a statutory affirmative defense that exempts law enforcement or

investigative officers engaged in official duties when the electronic surveillance was authorized

by and conducted pursuant to a search warrant.” Dkt. 98 at 62. However, qualified immunity is

available for both constitutional claims and some statutory claims. See Rasul v. Myers, 512 F.3d

644, 668 n.20 (D.C. Cir. 2008) (“‘[W]e [have] held that . . . the doctrine of qualified immunity

applied to plaintiff’s statutory claims [under the Federal Wiretap Act] in the same manner as it



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applied to plaintiff’s constitutional claims.’” (quoting Berry, 146 F.3d at 1014) (alterations in

original)), judgment vacated on other grounds, 555 U.S. 1083 (2008). Page’s position ignores the

fact that courts have dismissed FISA claims on the basis of qualified immunity. See Fazaga, 965

F.3d at 1039 (non-agent defendants “entitled to qualified immunity on the FISA claim”); Elnashar

v. U.S. Dep't of Just., 2004 WL 2237059, at *5 (D. Minn. Sept. 30, 2004), aff’d, 446 F.3d 792 (8th

Cir. 2006) (“Umbel is entitled to qualified immunity insofar as Elnashar asserts that Umbel

violated the FISA.”).

       Finally, Page alleges that any issue of qualified immunity is an affirmative defense that is

not properly raised at the motion to dismiss stage of litigation. Dkt. 98 at 63-64. This is wrong.

The Supreme Court has recognized that qualified immunity is not “a mere defense to liability” but

rather “an immunity from suit.” Mitchell v. Forsyth, 472 U.S. 511, 526-27 (1985). As a result,

the Supreme Court “repeatedly ha[s] stressed the importance of resolving immunity questions at

the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991). Here, the

allegations in the SAC inescapably lead to the conclusion that Comey is entitled to qualified

immunity, and thus, the claims against him must be dismissed.

V.     Page Should Not Be Granted Leave to File Another Amended Complaint

       This Court should reject Page’s request to replead his claims yet again. Page has had ample

opportunity and time to revise his pleading, including an opportunity to amend his claims to correct

the fatal flaws as explained by the Defendants in their Motions to Dismiss Page’s First Amended

Complaint. Dkts. 60-1, 62-1, 63-1, 64-1, 66-1, 67-1, 68-1, 69-1, 70-1. Page’s Second Amended

Complaint wholly fails to adequately address any of the Defendants’ arguments, see Dkt. 73,

because the facts do not permit Page to correct the fatal flaws of the SAC. Further, “a bare request

in an opposition to a motion to dismiss—without any indication of the particular grounds on which

amendment is sought—does not constitute a motion within the contemplation of Rule 15(a).” U.S.
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ex rel. Williams v. Martin-Baker Aircraft Co., 389 F.3d 1251, 1259 (D.C. Cir. 2004). Page also

did not attach a proposed amended complaint as an exhibit as required by LCvR 15.1. Where a

plaintiff “has not provided a proposed amended complaint and has not indicated that he will be

able to plead sufficient facts that would overcome the pleading deficiencies here, amendment

would be futile.” Nono v. George Washington Univ., 245 F. Supp. 3d 141, 149 (D.D.C. 2017).

Page’s perfunctory request devoid of any additional factual allegation that could possibly cure the

defects in the SAC counsels that the Court reject Page’s request for yet another bite at the apple.

Page’s request for leave to amend should be denied.

                                        CONCLUSION

       For the reasons set forth above and in Comey’s Motion to Dismiss, the Court should

dismiss all claims against James B. Comey (Counts 1-4, and 6) with prejudice.

Dated: April 1, 2022                         Respectfully submitted,

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